                     UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF PENNSYLVANIA

MICHAEL LEE, et al.,

                    Plaintiffs                CIVIL ACTION NO. 3:21-CV-1948

       v.                                          (MEHALCHICK, M.J.)

GOLF TRANSPORTATION, INC., et al.,

                    Defendants.


                                      ORDER

      AND NOW, this 9th day of March, 2023, IT IS HEREBY ORDERED that the

motion to withdraw as counsel (Doc. 97) is GRANTED. Attorneys Edward J. Ciarimboli

and Corey S. Suda are WITHDRAWN as counsel in the above captioned case.



                                      BY THE COURT:

                                      /s/ Karoline Mehalchick
                                      KAROLINE MEHALCHICK
                                      United States Magistrate Judge
